
ORDER
Having considered the Request of Car-dell A. Thomas for Discipline by Consent, and the concurrence therein filed by the Office of Disciplinary Counsel,
IT- IS HEREBY ORDERED that the Request of Cardell A. Thomas for Discipline by Consent be rejected pursuant to Supreme Court Rule XIX, § 20.
IT IS FURTHER ORDERED that this matter be remanded to the Office of Disciplinary Counsel for further investigation and, if warranted, the filing of additional formal charges.
/s/Bernette J. Johnson
Justice, Supreme Court of Louisiana.
LEMMON, J. not on panel. Rule IV, Part II, § 3.
